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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

Errick Lynn Williams and §

Kristin Barnes Williams, § :

§ !

Plaintiffs, § :

§ Civil Action No. i

v. §
§
Peggy Fulford, a/k/a Peggy Williams, §

a/k/a Peggy King, a/k/a Peggy § ORAL ARGUMENT REQUESTED

Ann Berard and §
King Management Group and §
Associates, LLC §
§
Defendants. §

TEMPORARY RESTRAINING ORDER

On the ___ day of December, 2013 came on to be heard Errick Lynn Williams and
Kristin Barnes Williams’s (collectively, ‘“Plaintiffs”) Original Verified Complaint and

Application for Temporary Restraining Order and Preliminary Injunction (the “Complaint’),

 

and after considering the verified pleadings, exhibits, and the arguments of counsel, the Court

finds that there is evidence that irreparable harm is imminent to Plaintiffs if a temporary

restraining order does not issue because: !
Based on Plaintiff's verified Complaint and supporting documents, the Court finds that

Plaintiffs are likely to succeed on the merits of its case against Peggy Fulford, a/k/a Peggy

Williams, a/k/a Peggy King, a/k/a Peggy Ann Berard, (““Ms. Fulford”) and King Management

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Moreover, if the Defendants are not immediately restrained from further conduct
described herein, Plaintiffs will suffer irreparable harm for which there is no adequate remedy at
law. The Court finds that in 2007, Mr. Williams formed an oral agreement to have Ms. Fulford
and King Management manage Mr. Williams’s assets. Plaintiffs and Plaintiffs’ counsel have
repeatedly requested that Defendants fully disclose the current state of Plaintiffs’ assets.
Defendants have failed to provide any verifiable information as to said assets. Additionally,
Plaintiffs have discovered that some amount of their assets have been unlawfully
misappropriated by Defendants. Without a temporary restraining order, Plaintiffs will suffer
immediate and irreparable injury and will potentially be deprived of their assets.

Plaintiffs have no adequate remedy at law for the injuries described above. Specifically,
Plaintiffs, as a result of Defendants refusal to provide verifiable information, have no control
over and no knowledge of the current state and/or location of their assets. Without the entry of
an immediate and temporary restraining order, Plaintiffs’ assets may be lost before this Court
will have an opportunity to conduct a full hearing on this matter. It is therefore,

ORDERED, ADJUDGED AND DECREED, that Peggy Fulford, a/k/a Peggy Williams,
a/k/a Peggy King, a/k/a Peggy Ann Berard and King Management Group and Associates, LLC
cease all activity that would cause any of Plaintiffs’ assets to be moved, transferred, withdrawn,
disposed of, or used in any way.

IT IS FURTHER ORDERED that Defendants immediately provide a full listing of all of
Plaintiffs’ assets including, but not limited to, the following information:

a. Account numbers,
b. Bank names,

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Credit and/or debit cards,

Lines of credit,

Investment accounts,

Real property, and

Any other entity or account that contains any of Plaintiffs’ assets.

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IT IS FURTHER ORDERED that Defendants immediately provide any and all
documents substantiating, proving or reflecting the 2010 deductions taken by Mr. Williams in his
2010 personal income tax filing.

IT IS FURTHER ORDERED that Plaintiffs will provide a bond in the amount of

 

IT IS FURTHER ORDERED that his Order will expire on the day of December,
2013 at A.M./ P.M. A hearing on Plaintiffs application for preliminary injunction is set for
the day of December, 2013 at A.M./ P.M.

SIGNED this day of December, 2013 at A.M./ P.M.

 

JUDGE PRESIDING

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